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It is so ordered. This matter is hereby dismissed with prejudice.
/s/ John R. Adams
U.S. District Judge
                             IN THE UNITED STATES DISTRICT COURT
12/19/2024
                                    NORTHERN DISTRICT OF OHIO
                                           EASTERN DIVISION

    JORDAN ELY                                       ) Case No. 5:24-cv-01109
                                                     )
           Plaintiff                                 ) JUDGE JOHN R. ADAMS
                                                     )
    v.                                               )
                                                     )
    CITY OF AKRON, et al.                            ) STIPULATION OF DISMISSAL
                                                     )
           Defendants                                )


           Now come the Plaintiff Jordan Ely and Defendant City of Akron and having agreed upon

   terms of a Settlement and Release Agreement, hereby file this stipulation of dismissal under Fed.

   R. Civ. P. 41(a)(1)(A)(ii). The dismissal is with prejudice.

                                                         Respectfully submitted,


                                                         /s/ Imokhai Okolo
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